  USDC IN/ND case 3:20-cv-00082-MGG document 199 filed 10/18/23 page 1 of 3


                           3:UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 KEVIN L MARTIN,

              Plaintiff,

                     v.                               CASE NO. 3:20-CV-82-MGG

 JOHN GALIPEAU, et al.,

              Defendants.

                                   VERDICT FORM

         The jury must unanimously agree on the answer to each question.

                      Retaliation against Defendant John Galipeau

(1)   Did Kevin Martin establish, by a preponderance of the evidence, a prima face

      case of retaliation for violation of his First Amendment rights against John

      Galipeau?

             Yes

             No

      (If yes, proceed to Question 2. If no, sign at the bottom.)

(2)   Did John Galipeau establish, by a preponderance of the evidence, that he would

      have made the same decision regarding Kevin Martin’s personal property if Mr.

      Martin had not exercised his constitutional right to file lawsuits and grievances?

             Yes

             No

      (If yes, proceed to Question 3. If no, sign at the bottom.)
  USDC IN/ND case 3:20-cv-00082-MGG document 199 filed 10/18/23 page 2 of 3


(3)   Did Kevin Martin establish, by a preponderance of the evidence, that John

      Galipeau’s asserted reason for removing Mr. Martin’s personal property from his

      cell was pretextual and Warden Galipeau’s real reason was to retaliate against

      Mr. Martin?

             Yes

             No

      (If yes, proceed to Question 4. If no, sign at the bottom).

(4)   Should compensatory damages be awarded to Kevin Martin to compensate for

      the retaliation against him by John Galipeau for exercising his constitutional

      right to file lawsuits and grievances.

             Yes, for the amount of $                                  .

             No.

      (If yes, proceed to Question 6. If no, proceed to Question 5.)

(5)   Should nominal damages in the amount of $1.00 be assessed against John

      Galipeau for his violation of Kevin Martin’s constitutional right?

      (Proceed to Question 6.)

(6)   Should punitive damages be assessed against John Galipeau in favor of Kevin

      Martin?

             Yes, for the amount of $                                  .

             No.

      (Sign at the bottom.)




                                               2
USDC IN/ND case 3:20-cv-00082-MGG document 199 filed 10/18/23 page 3 of 3


                Signature:
                             Jury Foreperson

                Date:




                                     3
